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 8                               UNITED STATES DISTRICT COURT
 9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11   CODY MEEK, et al.                             Case No. 17-cv-01012-JD
12                     Plaintiffs,
                                                   [PROPOSED] ORDER GRANTING
13          v.                                     PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                   TO AUTHORIZE DISBURSEMENT OF
14   SKYWEST, INC. and SKYWEST                     REMAINING ATTORNEYS’ FEES
     AIRLINES, INC.,
15
                               Defendants.
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18          The Court, having considered Plaintiffs’ Administrative Motion to Authorize

19   Disbursement of Remaining Attorneys’ Fees, and finding good cause therefore, hereby orders as

20   follows:

21          Plaintiffs’ Motion is GRANTED and disbursement of the 25% holdback of attorneys’ fees

22   in the amount of $262,187.50 to Class Counsel is authorized. Plaintiffs shall file a further report

23   or motion regarding approval to disburse any remaining unclaimed funds no later than

24   December 16, 2024.

25          IT IS SO ORDERED.

26

27   DATED: 10/1/2024
                                                                 Hon. James Donato
28                                                           United States District Judge

                                                                                 Case No. 17-cv-01012-JD
       [PROPOSED] ORDER GRANTING ADMIN. MOT. TO AUTHORIZE DISBURSEMENT OF REMAINING ATTORNEYS’ FEES
